AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                      JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
          V.                                                                  (For Offenses Committed On or After November 1, 1987)



MELVIN FRANKLIN MULL                                                          Case Num ber: DNCW 599CR000060-004
                                                                              USM Num ber: 15074-058

                                                                              Matthew Joseph
                                                                              Defendant’s Attorney


THE DEFENDANT:

X         adm itted guilt to violation of condition(s) 2, 4, 5, 6 & 8 of the term of supervision.
          W as found in violation of condition(s) count(s)            After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):



                                                                                                     Date Violation
 Violation Num ber                    Nature of Violation                                            Concluded

 2                                    Failure to subm it m onthly supervision reports                6/21/12

 4                                    Drug/alcohol use                                               6/14/12

 5                                    Failure to com ply with drug testing/treatm ent                5/30/12
                                      requirem ents

 6                                    Failure to com ply with drug testing/treatm ent                5/16/12
                                      requirem ents

 8                                    Failure to report to probation officer as instructed           6/8/12

       The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X         Governm ent withdraws violations num bers 1, 3 & 7.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.


                                                                              Date of Im position of Sentence: August 7, 2012

                                                                                 Signed: August 20, 2012




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Defendant: MELVIN FRANKLIN MULL                                                                           Judgm ent-Page 2 of 2
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                                                                  IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of TW ELVE (12) MONTHS & ONE (1) DAY.

NO SUPERVISED RELEASE TERM TO FOLLOW TERM OF IM PRISONM ENT.

X         The Court m akes the following recom m endations to the Bureau of Prisons:

That defendant be designated to a facility as close to his hom e in Hickory, NC, as possible.


X         The Defendant is rem anded to the custody of the United States Marshal.

          The Defendant shall surrender to the United States Marshal for this District:

                               as notified by the United States Marshal.

                                at___a.m . / p.m . on ___.

          The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                               as notified by the United States Marshal.

                                before 2 p.m . on ___.

                               as notified by the Probation Office.

                                                                        RETURN

          I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                              ___________________________________________
                    United States Marshal


                                                    By: _______________________________________
                                                                  Deputy Marshal




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